Case 5:11-cv-14474-JCO-MJH ECF No. 1, PagelD.1 Filed 10/11/11 Page 1 of 9

UNITED STATES DISTRICT COURT
FOR-THE-EASTERN-_DISTRICT_OF MICHIGAN

 

 

UNITED STATES OF AMERICA § Claim No: 2000A13558/2000A13785
§

VS. §
§

Ronald E. Sexton

 

COMPLAINT

 

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction

1. This Court has jurisdiction over the subject matter of this action pursuant to Article III,

Section 2, U.S. Constitution and 28 U.S.C. § 1345.
Venue

2. The defendant is a resident Oakland County, Michigan within the jurisdiction of this
Court and may be served with service of process at 842 Bloomfield Village Blvd., Apt. A,
Auburn Hills, Michigan 48326.

The Debt
First Cause of Action - Claim Number: 2000A13558

3. The debt owed the USA is as follows:

A. Current Principal (after application of all $1.373.38
prior payments, credits, and offsets) oO

B. Current Capitalized Interest Balance and $1,855.56

Accrued Interest

C. Administrative Fee, Costs, Penalties $0.00

D. Credits previously applied (Debtor payments, $0.00
 

 

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credits, and offsets)

E. Attorneys fees $0.00

Total Owed — Claim Number 2000A13558 $3,228.94

Second Cause of Action - Claim Number: 2000A13785
4, The debt owed the USA is as follows:

A. Current Principal (after application of all $2,844.21
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $5,155.71

Accrued Interest

C. Administrative Fee, Costs, Penalties $0.00

D. Credits previously applied (Debtor payments, $0.00
credits, and offsets)

E. Attorneys fees $0.00

Total Owed — Claim Number 2000413785 $7,999.92

TOTAL OWED (Claim Numbers 2000A13558 and 2000A13785) $11,228.86

The Certificates of Indebtedness, attached as Exhibit "A" and "B", show the total owed

excluding attorney's fees and CIF charges. The principal balance and the interest balance shown

on the respective Certificates of Indebtedness, are correct as of the date of the Certificates of

Indebtedness after application of all prior payments, credits, and offsets. Prejudgment interest

accrues at the rate of 9.130% per annum or $0.34 per day on Claim Number 2000A13558 and

10.000% per annum or $0.78 per day on Claim Number 2000A13785.

Failure to Pay

5. Demand has been made upon the defendant for payment of the indebtedness, and the

defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

 
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A. For the sums set forth in paragraph 3 and 4 above, plus prejudgment interest

 

through the date of judgment, all administrative costs allowed by law, and post=judgment interest

pursuant to 28 U.S.C. § 1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys’ fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

Respectfully submitted,

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC
Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
(248) 352-4340
usa@holzmanlaw.com
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U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Ronald E. Sexton
N/A

26612 Ridgefield
Warren, MI 48089

SSN:

I certify that Department of Education records show that the borrower named above is indebted to the United
States in the amount stated below plus additional interest from 03/10/99.

On or about 06/28/88, the borrower executed promissory note(s) to secure loan(s) of $1,004.00 from Central
Bank & Trust — Lander, WY at 9.13% percent interest per annum. This loan obligation was guaranteed by
United Student Aid Funds, Inc. and then reinsured by the Department of Education under loan guaranty
programs authorized under Title IV-B of the Higher Education Act of 1965, as amended, 20 U.S.C. 1071 et seq.
(34 CFR. Part 682). The holder demanded payment according to the terms of the note(s), and credited $0.00 to
the outstanding principal owed on the loan(s). The borrower defaulted on the obligation on 02/18/91, and the
holder filed a claim on the guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $1,373.38 to the holder. The guarantor
was then reimbursed for that claim payment by the Department under its reinsurance agreement. The guarantor
attempted to collect the debt from the borrower. The guarantor was unable to collect the full amount due, and
on 08/04/93, assigned its right and title to the loan(s) to the Department.

Since assignment of the loan, the Department has received a total of $0.00 in payments from all sources,
including Treasury Department offsets, if any. After application of these payments, the borrower now owes the
United States the following:

Principal: $1,373.38
Interest: $ 864.49
Administrative/Collection Costs: $ 0.00
Late fees: $ 0.00
Total debt as of 03/10/99: $2,237.87

Interest accrues on the principal shown here at the rate of $0.34 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed oo: oe for Name: ’ / d.
Title: Loan Analyst

Branch: Litigation Branch

 
 
 
 

 

ICHER EDUCATION ASSISTANCE FOUNBAMON 14 Aufiin dh) MII Exo ba. 1, PagelD. 5 Filed. AgMa/l4 Page 5,of 9-

 

‘0, BOX 64107» SI,PAUL, MN 55164-0107 arcana FOR STUDENTS
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te # eel PROMISSORY NOTE

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scCTION A= TO BE COMPLETED BY BORROWER (PRINT IN INK--PRESS FIRMLY—~-OR TYPE) rae ty Pe
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UNPAID SLS (ALAS) LOANS? PRINCIPAL BALANCE TR OP AUENT PRIOR SLS (ALAS) | SLS(ALAS); SEE INSTRUCTIONS IN APP BOOKLET MO DAY ¥
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18. HAVE YOU EVER DEFAULTED ON A GSL, SLS (ALAS), PLUS, PERKINS, CONSOLIDATED, OR INCOME CONTINGENT LOAN? [7] YES (GIVE DETAILS ON SEPARATE Seen yo
REFERENCES (YOU MUST PROVIDE THREE DIFFERENT NAMES, WITH DIFFERENT U.S, ADDRESSES AND PHONE NUMBERS)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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IF NO, GO TO 22a) Rives L)no_ INSTALLMENTS, IF YOUR LENDER GIVES YOU ACHOICE, WHICH DO “/0U PREFER? PERIODIC INSTALLMENT PAYMENTS

 

  

 

   
 

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PROMISE TO PAY: J promise to pay to the order of my lender the enlire Loan Amount Requested shown above, “to the extent Ihat it Is advanced fo me,'including the Guarantee Fee a. d interest on the unpaid principal balance,:subject to the ‘terms and ponditions
described on the reverse side of this Promissory Note and fo the terms and conditions contained i inthe Disclosir S Staleren that wil be provided to me no later.than tha time of the: first disbursem mnt of this loan. | have read, | understand, and | agree io
the Borrower's Cerlification on the reverse side of this Promissory Note. J understand that oa) a Promis will not sk mi bel ati a] oS Pr even if other avid. Jum entitled to. a copy tae

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38, DO SUGGESTED DISBURSEMENT DATES 39. WILL THE STUDENT ATTEND A FOREIGN SCHOOL? 40. SCHOOL USE ONLY

CORRESPOND TO SCHOOL TERMS? ves [YW [1]

 

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P.O, Box 69 812068 | | |
CITY, STATE. ZIP 45, BRANCH CODE 47, MO DAY YR 5 AMOUN
‘ Lander, WY 82520
8 NOvBER 54, DUE DATE OF FIRST PAYMENT 52. LENDER ACCOUNT NUMBER 53. LENDER USE ONLY 49. TOTAL LOAN AMOUNT APPROVED
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4 INSTALLMENTS 2 | ‘9 14 \ Bk | | 3) ,004 pe ,
. é Sa. SIGNATURE DING OFFI 54b. DATE SIGNED 54c, PRINT NAME ANT: “TLE
x . “7 % , 8B | Scott J Brews ter
oa + BECTION D-TOBECOMP HEAF ; ne :

aa 55 Went USE ONLY 56. PROMISSORY NOTE STATUS 57. CREDIT APPROVAL INDICATOR

 

 

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“11-cv-14474-JCO-MJH ECF No. 1,
SLS Promissoity ROTE cv en ;

A. PROMISE TO PAY

The Interest and Guarantee Fee rates and terms (mentioned
front of this application/promissory note)

1. interest. For a PLUS or SLS loan

12, or 14 percent. For loans disbursed on or after July 1, 1987 the interest will be equivalent

@ Loan Amount shown on the front of this application/promissory note, ata
variable rate not to exceed 12

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PLUS and SLS loans,
2. Guarantee Fee,
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B. DISCLOSURE:

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C. GENERAL

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D. REPAYMENT

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my lender must inform me
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interest within 60 days of d;

2. | will repay this loan with
generally lasts at least 5 ye.
lo these rules apply:

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ensure that during each ye
GSLP PLUS or SLS Progre
least $600 or the unpaid pri
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grants “forbearance”, those
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3. The particular terms

nently disabled,

E. PREPAYMENT

At my option and without penalty,

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he same method by which interest payments were computed,

7 DEFERMENT OF PAYMENT

stances authorized by the Act, the Payments of principal { am required to make
d under Repayment in this

ized by the Actare described under Defermentin the HEAF application information booklet.
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1 Certain in:
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i, FORB EARANCE be eligible for the loan applied for. } further certify
1am unable to repay this loan in accordance with the terms established under Repayment institution and due inquiry to the stude:

this Note, I may request the lender to modify these terms. ! understand that suc modifi- the Selective

ttion would be at the lender's option and would have to be in compliance with the Act, made under any Title

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disbursed prior to July 1, 1987, the interest may be 9,

c. using the loan
d. failing to enrol
loan period:

percent per year. The interest rate will be determined annually
my loan. The interest rate for any year

AFFIX TO BACK OF PROMISSORY NOTE

Pay to the order of Higher Education Assistance Foundation (CHEAP ) without
recourse, provided, however, notwithstanding this indorsement without recourse,

the undersigned hereby expressly:

1.

ANd Gorunris ut repayment tnat apply to this loan will be set forth in
the loan disclosure Statement that the lender will Provide to ma,

4. My aegation lo repay this loan shall be Cancelled if | die or become totally and perma-

nts that:

an defense of any party is good against the undersigned; a sor Aaree.
b) the undersigned is not in default under the terms of that certain Len a 9 se,

ment for Guarantee of Student loans with Federal Reinsurance ( an

Agreement’’) between it and HEAF, in accordance with which ee seae

the indebtedness evidenced by this instrument was guaranteed by "
Disclaims the implied warranty that it has no Tre ran ayy insoNency er ~
ceeding instituted with respect to the maker of this instrument and reece
rants that to the extent it has knowledge of any such proceeding it has is ,
the same to HEAF, but no other implied warranties are hereby disclaimed.

. Acknowledges that:

a) upon payment in full by HEAF of the claim submitted by the eee
pursuant to the aforesaid Lender Agreement, HEAF will have disc! “rae a
of its obligations to the undersigned arising out of said Lender me ; .

b) notwithstanding payment by HEAF of the undersigned s claim an ape r
tance by HEAF of transfer of this instrument in consideration thereo '
has not waived any rights that it may have against the undersigned pursuai
to the terms of the aforesaid Lender Agreement.

 

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Loan (GSL), Supplemental Loan for Students

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F including without limitation submission of required forms to
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F0025 10-87

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for the purpose of learning my current address a

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subsequent holder, t

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The amount of any such rebate will be computed by fasponsible for repa'
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Note may be deferred. The instances currently autho- guaranteed student

with the relevant federal regulations and the

periodic basis, or (b) add to the Principal balance of

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SCHOOL CERTIFICATION

hereby Certify that the student named in Section A of this application is accepted for enroll-
st a half-time Student, and i
rogram determined to be eligible for thi

itution, under the requ at

Service Act necessary to receive fina

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eu yeeros Sas pean
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PROMISSORY N oO SLS-A353 2-88

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J2-F

t payment when due, Provided that this failure persists fc
thly instalments or 240 days for a loan repayable j

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pleted the application for the time identified as m
&. not notifving tha lancer immediately if | (a) drop to less thana half-time student, (b) chang:
ange my name, or (d) change my permanent address,
dt—If | default on this toan: toe

the entire unpaid amount of the loan, Including interest, immedi

ollect from me alate charge if I fall to
10 days after it is due or if | fail to

ity to have the payment deferred as described under Deferment

ay Not exceed 6 cents for each dollar of each late installment.

this loan, the lender holder Or guaranty
fault to credit bureau organizations, This may significantly and

jury under the laws of the United
1, the borrower, certify that the information contained in my
complete and correct to the best
option under the SLS
8) jointly payable to me and my school.
‘refund which may be due me up to the
onal institution that | May attend, or HEAR to release to the
‘holder, or their agents, any requested information pertinent
hy oe Seupieyinent, enrollment status, prior loan history,
bse ent holder, their agent, the educational institution, or HEAF to
make inquiries to or respond to inquiries from my parents (under the
or subsequent lenders or holders, with respect to
the lender, subsequent holder, their agent or
to the persons | have listed in my loan application as references,
nd telephone number | also authorize the
heir agent or HEAF to check my credit and employment history
answer questions about their credit experience with me. I certify that the proceeds of
Purposes for the academic
application at the educational institution named on the application. | understand that | am
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for a Pell Grant. | certify that lam a bor-

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that based upon records available at this
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HEAF to release infor-

Period stated on my loan

the loan period

is making satisfactory Progress in a
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ions applicable to this loan program, to

ncial aid, is not in default on any loan

S, and procedures of HEAF

ir Sections A and B and this

 

NATE
Case 5:11-cv-14474-JCO-MJH ECF No. 1, PagelD.7 Filed 10/11/11 Page 7 of 9
U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

 

Ronald E. Sexton
N/A

26612 Ridgefield
Warren, MI 48089

SSN:

I certify that Department of Education records show that the borrower named above is indebted to the United
States in the amount stated below plus additional interest from 03/10/99.

On or about 06/28/88, the borrower executed promissory note(s) to secure loan(s) of $2,625.00 from Central
Bank & Trust - Lander, WY at 10% percent interest per annum. This loan obligation was guaranteed by United
Student Aid Funds, Inc. and then reinsured by the Department of Education under loan guaranty programs
authorized under Title IV-B of the Higher Education Act of 1965, as amended, 20 U.S.C. 1071 et seq. (34 CFR.
Part 682). The holder demanded payment according to the terms of the note(s), and credited $0.00 to the

outstanding principal owed on the loan(s). The borrower defaulted on the obligation on 03/18/91, and the holder
filed a claim on the guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $2,844.21 to the holder. The guarantor
was then reimbursed for that claim payment by the Department under its reinsurance agreement. The guarantor
attempted to collect the debt from the borrower. The guarantor was unable to collect the full amount due, and
on 06/14/93, assigned its right and title to the loan(s) to the Department.

Since assignment of the loan, the Department has received a total of $407.00 in payments from all sources,

including Treasury Department offsets, if any. After application of these payments, the borrower now owes the
United States the following:

Principal: $2,844.21
Interest: $1,575.92
Administrative/Collection Costs: $ 0.00
Late fees: $ 0.00
Total debt as of 03/10/99: $4,420.13

Interest accrues on the principal shown here at the rate of $0.78 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed on: &% [Af E? Name: a - fan
° Title: | Loan Analyst

Branch: Litigation Branch

 
 

 

Case 5:11-cv-14474- - -No Filed ULL.
HIGHER EDUCATION ASSISIANCE FOUNGATION ites Mt mice Nol, Pagell.s- 40L Ob 11. Page-8.of 9 GUARANTEEL
PO. BOX 64107 « ST PAUL, MN 55164-0107 mai HEAF cop fot acres |. b] sc STUDENT LOAI

 

 

 

 

 

 

 

". (GSL) APPLICATION
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____ SECTION A- 70 BE COMPLETED BY BORROWER (PRINT IN INK-PRESS FIRMLY-OR TYPE). 7 co cr - be =.
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4, PERMANENT ADDRESS ad 75, PERMANENT HOME PHONE |
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CITY STATE zp
Warren iV H€O
5. US, CITIZENSHIP STATUS (CHECK 1 OR 2) ALIEN ID NUMBER IF APPLIGABLE _[7. PERMANENT RESIDENT 2a, DRIVER LIGENGE NUMBER (F YOU DO NOT HAVE A LICENSE, Bb, STATE IN WHICH
1 'S.CITZEN OR [] PERMANENT RESIDENTOR NAT; PRINT “NONF UCENSE ISSUED, 3
NATIONAL OTHER ELIGIBLE ALIEN [Pha __ 7 ti | l

 

 

 

9. ADDRESS OF BORROWER WHILE IN SCHOOL (STREET, CITY, STATE. 4

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Warre

10. PHONE AT SCHOOL ADDRESS 11. MAJOR COURSE OF STUDY SEE CODES

(2}2) 697100 Mee Nr 13. LOAN PERIOD

MO R 70 i YR
Pn SIE” | PHAGE,
PRIOR LOAN INFORMATION: READ INSTRUCTIONS IN THE APPLICATION BOOKLET

14. HAVE YOU EVER DEFAULTED, ON A GSL, SLS (ALAS), PLUS, PERKINS, CONSOLIDATED, | 15a. DO YOU HAVE ANY PRIOR UNPAID GSL LOANS? 5b, IF YES, TOTAL UNPAID BALANCE OF GSL LOANS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OR INCOME CONTINGENT LOAN?
[] ves (GIVE DETAILS ON SEPARATE SHEET) No|{_] YES (G0 TO 15b) NO (GO TO 20a) 5
76. UNPAID PRINCIPAL BALANCE OF MOST RECENT PRIOR GSL 17. GRADE LEVEL OF MOST RECENT PRIOR GSL; i8. LOAN PERIOD START MO DAY “R119. INTEREST RATE OF MOST RECENT PRIOR GSL
SEE INSTRUCTIONS IN APP BOOKLET DATE OF MOST REGENT , : ,

$ PRIOR GSL | l ["] 7% [] 8% L) 9%
REFERENCES (VOU MUST PROVIDE THREE DIFFERENT NAMES, WITH DIFFERENT U.S. ADDRESSES AND PHONE NUMBERS)

| 20a. p 20b. 206. ,

NAME Dan Henson NAME Tom Hensor" ie Sherry Sextan

 

  

 

 

ee

tl sme 31974 Schoen
3} ciry, STATE, ZIP WJarren hh

OE Tee TOO

 

‘
CITY, STATE, zp_St! Hons © Mi 4 71 CITY, STATS, ZIP 7 eNENS- WM

PHONE (

    
 
 

 

 

 

Meo
omm—-man7

 

 

 

 

   
        

* GOR APPLICATION ; mney if ZS Ce
(YF wld

 

 

 

 

 

 

 

 

 

 

2b. DATE BORROWER SIGNED
AY
“6 Ag | x
. SECTIONB- 16 BE COMPLETED BY SCHOOL (BORROWER: DO NOT WRITE IN SECTIONS Bt BELOW) : ' . .
22. NAME OF SCHOOL 24. PHONE 25. SCHOOL CODE
— 7 ft
417.72 2c (393) 758-7700] 02 ace
23. ADDRESS (STREET, CITY, STATE, ZIP) 26. SCHOOL BRANCH
24432 € SMILE Road LOee Ren ML Ayog | Oo 2
27, 2B PFE LOAN WILL EOVER TOMO DAY [Bog SERDENTS GRADE LEVEL (CHECK ONE) RAD 30. ANTICIPATED GRADUATION DATE} 31. STUDENT STATUS (CHECK ONE)
, DAY
me Sow OO evi Peo, Poo wl Pt ye | Dorn Bete
32, ADJUSTED GROSS INCOME (AGI) 33, COST OF ATTENDANCE FOR LOAN PERIOD 34, ESTIMATED FINANCIAL AID FOR LOAN 35. EXPECTED FAMILY CONTRIBUTION (EFC) 36. OER a Fs LSS MAXIMUM
S 1018 S 3ezZe¢ s -S— : = we 2.) 2

 

 

 

 

37, SUGGESTED DISBURSEMENT DATES

1ST DISB. low) bea e_} eee ono sa] " | _ | * | aro pisa,| " | = | " |

38. DO SUGGESTED DISBURSEMENT DATES q 39. WILL THE STUDENT ATTEND A FOREIGN SCHOOL? 40. SCHOOL USE GNLY

CORRESPOND TO SCHOOL TERMS? ES r oO ves] no [4a | |

| HAVE READ, UNDERSTAND, ANDI AGREE TO THE | 41a, SIGNATURE OF SCHOOL OFBCIAL 41b, DATE 4ic. PRINT NAME AND TITLE

TERMS OF THE SCHOOL CERTIFICATION PRINTED "| yy Kitten! po) én [28 LZ. 4A, VEL Lf, 4 Q,

 

 

 

 

 

 

 

 

ON THE REVERSE SIDE OF THIS APPLICATION.

 

 

SECTION C - TO BE COMPLETED BY LENDER ‘
44. LENDER cone 48, LOAN DISBURSEMENTS
% Mo DAY YR AMOUNT
P

42, NAME OF LENDER ”
Central Bank & Trust a“ nv 1.2 9 7 0 © gi2o68 7 4 21; 88 (2,62!
“ ~ 45, BRANCH CODE

43, ADDRESS (STREET, BUILDING) be MO DAY YR 5 AMOUNT

P.0. Box 69 Ao ! i | |

CITY, STATE, ZIP 46.

Lander, WY 82520

51. LENDER ACCOUNT NUMBER 52. LENDER USE ONLY 47.

 

a MO

wet

 

MO DAY YR 5 AMOUNT

 

 

50. IS THIS AN
UNSUBSIDIZED LOAN?
ys 0 NOX

SECTION D - 70 BE COMPLETFN RV HE AF Cee ee cement tia — SIGNATURE OF LENDING UT
ms Gaels. =

SEXTGNsRGNALD ,E 1ATUS 53c. PRINT NAME AND 7ITLE
CLAIM NO 1993050301239 06-14-93 Stott J. Br.wster, VP
SSN TD 1 ,

 

 

 

 

 

 

 

 

 

LENDER COPY

 
Case 5:11-cv-14474-JCO-MJH EGFNe.-4;

 

aad
f et

ae

GSL PROMISSORY NOTE
A. PROMISE TO PAY

The Interest, Guarantee Fee, and Origination Fee rates a
Pay on the front of this application/promissory nole) are:
INTEREST -

1) agree to pay an amount equivalent to simple interest (as specified in (4)) on the unpaid principal

mae from the date of disbursement until the entire principal sum and accrued interest are paid
in full,

2) However, the U.S, Secretary of Education ("Secretary") will pay the interest that accrues on this
loan prior to repayment status and duting any deferment, if itis determined that | quality to-have
such payments'maade on my-behall under the reguiations governing the Guaranteed Student Laan
Program (“GSLP"). in the ‘event that the intérést‘hn this toan ispayable by the ‘Secretary, néifher
the lender nor other holder of this Note may atiemp! to collect this interest from med may, however,

 

nd terms (mentioned in the Promise to

: choose to pay, this interest myself, - faa” i t
3) Once the tepayment status begins | will be responsible for paymeht of all ihteresr'that accrues
on this loan, except that if the interest accruing on this loan prior to the repayment period was pay-
able by the Secretary, the Secretary vill pay he interest that accrues during any period described
under DEFERMENT.In this Promissory Note. \
4) The interest rate Will be daletmined according to the following: .
& If] Rave an oUtstandinn Piiarentnaat uct e nd ee Duo Wl
applicable interest rat
bAIETam borrowing 4
outstanding GSL(s}, tl
c. lam borrowing fo
outstanding GSL(s) bu
Supplemental Loans f
or on any Consolidatia
« that date, the applicab

*. Gif am-bbrrowing for

AFFIX TO BACK OF PROMISSORY NOTE

 

RagelD.9. Filed 10/11/11 Page,9 of

  

F DEFERMENT

| understand that in certain instances authorized by the Act the payments | am tequired fo make, ;
described under Repayment in this Note, may be deferred. The instances currently authorized {
the Act are described ender Determent inthe HEAF application information Bpoklel. To obfain suc
deferment, | agred to comply with the relevant federal regulations and the Res and Regulatio:
” of the HEAF including, without limitation, submission of required forms to the lender.

G. FORBEARANCE

If | am unable to repay this loan in accordance with the terms established under Repayment in th
Note, | may request the lender to modify these terms. f understand that such modification would t
at the lerider's Option and would have to be in compliance with the Act, federal regulations adapte
under the Act and the Aules and Regulations of HEAF | understand that a modification of repa
ment terrhs under this Section is different frorn Deferment (as described ifi.this Note) and that du
ing this périolf | will remain responsible for payment of interest, which the lender may (a) collect fro:
me on a periodic basis or (b) add to the principal balance of this loan, . .

me ee ‘ + !
H. DEFAULT PET Eee fab ee
1) Definition—t understand that under the Act, and HEAF Rules and Regulations, any of the follov.
ing events is a default: oe an
a, failing to make any installment payment when due, provided that this failure persists for 180 day
ferme nonthly installments or 240 days for a loan repayable in less frequer

‘sentation for the purpose of obtaining this loan: “
5 for other than educational Purposes;

school that completed the application for the time identified as my loar
t r

r immediately if | (a) drop.to less than a half-time Student, (b) change my
3@ my name,.or (d) change my permanent&ddress, .' 3°:

ull—1f 1 detauit on this joan:

ys the entire unpaid amount of the loan, inqjuding intérest, immediately due
! . . . “HEAF ) without Sa ~ ue 1 bee a .
outstanding balance igher Education Assistance Foundation ( =
that date or on any Co Pay to the order of H 9

ning before that date, |
year of my repayment:
5) The applicable inten
& until the end of the fc .
b. beginning with the fif
6) | may also receive rel
when the applicable int
7)The lender or other t
balance (capitalization)
the Higher Education &
- lunderstand thatil tam!
+ (a) during the priod | ai
in Section D below, and
Foelow © te Tee,

the undersigned hereby expressly:
1. (Warrants that: ~~

wee 2B an i -
OA NTEF FEE « ceeding instituted with respect to the maker of this instrument and ree er
8) HEAF may charge a‘ . ing it has disclos
applicable regulations a rants that to the extent it has knowledge of any such proceeding it m laimed
relundexcen orien the same to HEAF, but no other implied warranties are hereby disc ‘
the lender's option, be a .
ment willshowthe actua 3. Acknowledges that:

ORIGINATION FEE

9) The Origination Fee y
federal law and will be ret
fata, on undisbufsed am
check is not cashed within

B. DISCLOSURE

| understand that before
Stalement that identifies <¢

C, GENERAL

! understand that the len:

to the terms of the aforesaid Lender Agreement.

recourse, provided, however, notwithstanding this indorsement without recourse,

a) no defense of any party is good against the undersigned; and ser Acree.

b) the undersigned is not in default under the terms of that certain Len er 9 \
ment for Guarantee of Student loans with Federal Reinsurance (“Len e
Agreement’) between it and HEAF, in accordance with which payment .
the indebtedness evidenced by this instrument was guaranteed by HEAF,

Disclaims the implied warranty that it has no knowledge of any insolvency pro-

a) upon payment in full by HEAF of the claim submitted by the el
pursuant to the aforesaid Lender Agreement, HEAF will have discharge i
of its obligations to the undersigned arising out of said Lender Agreement; an

. b) notwithstanding payment by HEAF of the undersigned s claim and eae
tance by HEAF of transfer of this instrument in consideration thereof,
has not waived any rights that it may have against the undersigned pursuant

Jaranty agency may disclose io schools | have attended (or am currently

out the default;

tive assistance from all Title 1V Programs and any of the following federa!
aplementai Educational Opportunity Grant, Co lege Work-Study, State
‘erkins Loan (formerly called National Direct Student Loan), Guaranteed
ilemental Loan for Students (8LS), PLUS loans, or Consolidation Loans:
benefits described under Repayment and Deferment in this Note:

J NOTIFICATION

amount of this loan and its repayment will be reported to one or more
!f) default on this loan, the lender, holder or guaranty agency will also
Sureau organizations. This may significantly and a versely affect my
The lender, holder or guaranty agency must notify me atieast 30 days
about the default will be disclosed to credit bureau organizations unless
! loan within the 30 days, The lendarmust provide a timely resporise to
eau organization regarding objections | might raise with that organi-
id completeness of information reported about me.

IFICATION

‘jury under the taws of the United States of America that the following
rower, certify that the information contained in my application for this
rrect fo the best of my knowledge and belief and is made in good faith
rize the lender to make my loan check(s) jointly Payable to me and my

 

because of this, the loan |
accordance with, Title N,
federal regulations ado te
not governed by federal la

Sey L LALO

& school to pay to the lender any refund which may be due me up to
jer authorize any educational institution that | may atlend or HEAF to
tion, subsequent holder, or their agents, any requested iniormation
ployment, enroliment Status, prior loan history, current address). lalso

 

lender is located.

D. REPAYMENT

DATE

 

 

VVOX

dent holder, their agenl, the educational institution, or HEAF to make
tiries from my parents, or prior or subsequent lenders or holders, with
documents. | also authorize the fender, subsequent holder,

 

 

m7 Dain 5 Ona Lys /

! will repay this toan in perl
{he end of my grace perioc
However, during the grace
period begins when CCAS eeeg mn
thal is participating in the Guaranteéd Student Loan Program (GSLP).

1) | will repay this loan over a repayment period that generally lasts al least 5 years bul no more than
10 years, However, the following exceptions to these tules apply:

Principal of ail such loans (plus interest).

©. lft qualify for postponement of my Payments during any perio lescribad unger Defermentin,
this Note, or if the Jender grants “forbearance”, as allowed by od des thése pace Will not be
included in the 5- and 10-year periods mentioned above, “ee

2) | must contact the lender prior to expiration of my grace period to negotiate the terms of repay- ,

=. PREPAYMENT

Ml my option and without penalty, | may prepay at any time all or any part of the unpaid principal
alance ol this Note. in the event of Prepayment, | will be entitled to a refund of any unearned inter-
stthal [ have paid. The amount of any

such rebate will be computed by the same method by which.”
terest payments were computed. . :

~ ay ares mania ACEOEMIC Workload at a Séhool ””~

lan +

Fo025 10-87

"1S MeSlIng Da a zezmene or repaying any funds | receive that Cannot reasonably be atlributed
to meeting my educational expenses related to attendance at that institution for the loan period

which have been provided to me and that | understand my responsibllities and my rights under that
program. - .

SCHOOL CERTIFICATION

i hereby certify that the student named in Section A Of this application is accepted for enrollment or

z is enrglied as at least a half-time student, and is making Satisfactory progress in a program delur
7 mined to be €ligible for this loan Program. | further certify that the student has been delermined Ly
* this institutior#

under the regulations applicable to this loan program, to be eligible for the loan apphed

i ed upon records available at this institution and due inquiry of the stu-
deni, the student has satisfied the requirements under the Selective Service Act necessary to receive
financial aid, is not in defaull on any loan made under any Title IV student assistance prograin
identified in 34 CFR Part 668, and is not liable for any retund of any grant made under any student

assistance program identified in 34 CFR Part ed eget this institution wilt comply
is} alih@sk policies, and procedures of

i t 668. J fur
with all fi
SE ee ncn Benen nas
YD EXACT COPY OF T HE
L PROMISSORY NOTE
_ DATEL asoaas0s A307 2-88

 
 

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